             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CIVIL CASE NO. 1:24-cv-00080-MR-SCR


CHAD NELSON,                     )
                                 )
                   Plaintiff,    )
                                 )
            vs.                  )                      ORDER
                                 )
LELAND DUDEK, Acting             )
Commissioner of Social Security, )
                                 )
                   Defendant.    )
________________________________ )


     THIS MATTER is before the Court on the Plaintiff’s Motion for

Summary Judgment on the Pleadings with Brief in Support of Remanding

the Case to the Commissioner [Doc. 11]; the Commissioner’s Brief [Doc.

15]; and the Magistrate Judge’s Memorandum and Recommendation [Doc.

17] regarding the disposition of those motions.

     Pursuant to 28 U.S.C. § 636(b) and a specific Order of referral of the

District Court, the Honorable Susan C. Rodriguez, United States Magistrate

Judge, was designated to consider the pending motions in the above-

captioned action and to submit to this Court a recommendation for the

disposition of these motions.




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      On January 21, 2025, the Magistrate Judge filed a Memorandum and

Recommendation [Doc. 17] in this case containing proposed findings of fact

and conclusions of law in support of a recommendation regarding the

disposition of this matter. The parties were advised that any objections to

the Magistrate Judge's Memorandum and Recommendation were to be

filed in writing within fourteen (14) days of service. The period within which

to file objections has expired, and no written objections to the

Memorandum and Recommendation have been filed.

      After a careful review of the Magistrate Judge's Memorandum and

Recommendation [Doc. 17], the Court finds that the proposed findings of

fact are correct and that the proposed conclusions of law are consistent

with current case law.       Accordingly, the Court hereby accepts the

Magistrate Judge's recommendation that the Plaintiff’s Motion for Summary

Judgment should be granted and this case should be remanded for further

proceedings.

      IT IS, THEREFORE, ORDERED that the Memorandum and

Recommendation [Doc. 15] is ACCEPTED, and the Plaintiff’s Motion for

Summary Judgment on the Pleadings with Brief in Support of Remanding

the Case to the Commissioner [Doc. 11] is GRANTED.




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     IT IS FURTHER ORDERED that, pursuant to the power of this Court

to enter a judgment affirming, modifying or reversing the decision of the

Commissioner under Sentence Four of 42 U.S.C. § 405(g), the decision of

the Commissioner is REVERSED, and this case is hereby REMANDED to

the Commissioner for further administrative action consistent with this

Order.

     A judgment shall be entered simultaneously herewith.

     IT IS SO ORDERED.
                               Signed: March 4, 2025




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